              Case 2:11-cr-00190-KJM Document 325 Filed 03/16/17 Page 1 of 3


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 5   Attorney for Defendant
     Manuel Keith
 6

 7                                UNITED STATES DISTRICT COURT

 8                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                                       )   Case No.: Cr.S-11-190-MCE
10   United States of America,                         )
                                                       )   STIPULATION AND ORDER FOR THE
11                   Plaintiff,                        )   RETURN OF MANUEL KEITH’S U.S.
                                                       )   PASSPORT,
12           vs.                                       )   NO. 428592147
                                                       )
13   Manuel Keith,                                     )
                                                       )
14                   Defendant                         )
                                                       )
15                                                     )
                                                       )
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17
                                          FACTUAL SUMMARY
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            As a usual condition of Pre-Trial release, the Court ordered Manuel Keith to surrender his
19
     United States passport, number 428592147, to the Clerk of the United States District Court for
20
     the Eastern District of California, which he did. Thereafter, on March 2, 2017, the Court
21
     sentenced Manuel Keith to “time served.” Since there is no further practical need for the Court
22
     to retain possession of his passport, and to eliminate the need to attempt to retrieve it after his
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     term of supervised release is over, both the prosecuting AUSA and the defense attorney believe it
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     would be appropriate and convenient to release Mr. Keith’s passport now to the possession of his
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              Case 2:11-cr-00190-KJM Document 325 Filed 03/16/17 Page 2 of 3



 1   attorney, Jan David Karowsky, who, in turn, will send it to Mr. Keith’s mother, which is what

 2   Mr. Keith has requested.

 3                                            STIPULATION

 4

 5          Plaintiff, United States, and Defendant, Manuel Keith, through their undersigned counsel,

 6   hereby stipulate and agree that Mr. Keith’s United States passport, Number 428592147, currently

 7   held by the Clerk of the United States District Court for the Eastern District of California, shall

 8   forthwith be returned to him by mailing said passport to Mr. Keith’s, as follows:
            Jan David Karowsky
 9          Attorney at Law
            A Professional Corporation
10
            716 19th Street, Suite 100
11          Sacramento, CA 95811

12
     IT IS SO STIPULATED.
13
     DATED:      March 16, 2017                             Phillip Talbert
14                                                          United States Attorney

15                                                          /s/ Jason Hitt

16                                                 by
                                                            Jason Hitt
17                                                          Assistant U.S. Attorney
                                                            by Jan David Karowsky
18
                                                            w/ Mr. Hitt’s consent
19

20   DATED:         March 16, 2017                          JAN DAVID KAROWSKY
                                                            Attorney at Law
21                                                          A Professional Corporation

22                                                          /s/ Jan Karowsky
23                                                 by
                                                            JAN DAVID KAROWSKY
24
                                                            Attorney for Defendant
25
                                                            Manuel Keith




                                                      -2-
              Case 2:11-cr-00190-KJM Document 325 Filed 03/16/17 Page 3 of 3



 1          Good cause having been shown, the Court hereby orders that Manuel Keith’s United
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     States passport, number 428592147, shall be mailed, forthwith, to Mr. Keith’s attorney, as
 3
     detailed in the above Stipulation.
 4
            IT IS SO ORDERED.
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     Dated: March 16, 2017
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